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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ROANOKE DIVISION

JOHN DOE,                   )
    Plaintiff,              )
                            ) Case No. 7:21-cv-00378
v.                          )
                            )
VIRGINIA POLYTECHNIC INST., )
& STATE UNIV. et al.,       ) By: Michael F. Urbanski
     Defendants             ) Chief United States District Judge


                                           ORDER

       As set forth in the accompanying memorandum opinion, Virginia Tech’s motion to

dismiss, ECF No. 26, is GRANTED. Doe’s claim based on the allocation of the 2018–2019

research grant funds is DISMISSED with prejudice as time barred. In addition, his claim

based on his loss of a liberty interest is DISMISSED with prejudice for failure to state a

claim. His remaining claims that (1) he was deprived of a property interest in continued

enrollment without due process; (2) he was deprived of grant funds in the 2019–2020 school

year in violation of Title IX; (3) he was subjected to a hostile environment based on sex in

violation of Title IX; and (4) he was retaliated against in violation of Title IX, are DISMISSED

without prejudice for failure to state a claim.

       Doe may file a Second Amended Complaint within thirty (30) days of entry of this

Order if he wishes to proceed on any of the claims that were dismissed without prejudice.




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    It is so ORDERED.

                            ENTERED: July 28, 2022
                                               Digitally signed by Michael
                                               F. Urbanski      Chief U.S.
                                               District Judge
                                               Date: 2022.07.28 11:34:02
                                               -04'00'
                            Michael F. Urbanski
                            Chief United States District Judge




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